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14                                 UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                             Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                       NOTICE OF EVIDENTIARY CITATIONS
19    COUNTY AND MUNICIPAL EMPLOYEES,                    FOR PLAINTIFFS AFFECTED BY
      AFL-CIO, et al.,                                   AGENCY TERMINATIONS
20
               Plaintiffs,
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

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 1          Pursuant to the discussion at the hearing on Plaintiffs’ motion for preliminary injunction

 2   today, March 13, 2025, Plaintiffs hereby submit this further list of evidentiary citations to

 3   Plaintiffs’ record evidence in support of harm caused to Plaintiffs by terminations of probationary

 4   employees, organized by federal agency.

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 1
       DEFENDANT AGENCY                               PLAINTIFFS AND EVIDENCE
 2

 3                                  Main Street Alliance
                                    Phetteplace Dec., Dkt. 70-20, ¶¶2-4
 4
                                    American Geophysical Union
 5
                                    Shultz Dec., Dkt. 70-16, ¶¶5, 7, 10
 6
                                    Coalition to Protect America’s National Parks
 7                                  Supp. Neubacher Dec., Dkt 70-19, ¶¶2, 4
 8                                  Western Watersheds Project
 9                                  Supp. Molvar Dec., Dkt 70-18, ¶¶7, 10
            Department of
10                                  Common Defense
             Agriculture
                                    Supp. Arbulu Dec., Dkt. 70-17, ¶5
11
                                    Point Blue Conservation Science
12                                  Pitkin Dec., Dkt. 70-15, ¶¶3-6
13
                                    State of Washington
14                                  Esquibel Dec., Dkt. 70-7, ¶¶15, 18; Garl Dec., Dkt. 70-10, ¶¶2-8;
                                    Bartlett Dec., Dkt. 70-2, ¶¶22-26; Mellor Dec., Dkt. 70-12, ¶¶6-25
15
                                    AFSCME
16                                  Caetano Bachelder Dec., Dkt. 18-5, ¶¶4-23; Blake Dec., Dkt. 18-6,
17                                  ¶¶4, 8; Supp. Blake Dec., Dkt. 39-6, ¶¶4-5

18
                                    Coalition to Protect America’s National Parks
19                                  Supp. Neubacher Dec., Dkt 70-19, ¶3
20
                                    American Geophysical Union
21                                  Shultz Dec., Dkt. 70-16, ¶¶5-7, 9-10

22                                  Western Watersheds Project
                                    Supp. Molvar Dec., Dkt 70-18, ¶¶3, 5
23          Department of
             Commerce
24                                  Point Blue Conservation Science
                                    Pitkin Dec., Dkt. 70-15, ¶¶3, 7
25
                                    State of Washington
26                                  Dively Dec., Dkt. 70-6, ¶¶9-10; Bartlett Dec., Dkt. 70-2, ¶¶19-21;
                                    Cunningham Dec., Dkt. 70-5, ¶¶4-9; Esquibel Dec., Dkt. 70-7, ¶19;
27                                  Finlay Dec., Dkt. 70-9, ¶¶5-8; Hennessy Dec., Dkt. 70-11, ¶¶4-36;
28                                  Mellor Dec., Dkt. 70-12, ¶2

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 1
                                    Point Blue Conservation Science
 2                                  Pitkin Dec., Dkt. 70-15, ¶¶3, 7
 3
                                    State of Washington
            Department of
 4                                  Esquibel Dec., Dkt. 70-7, ¶16
               Defense
 5                                  AFGE
                                    Kelley Dec., Dkt. 18-12, ¶¶4, 27-29; Nemeth-Greenleaf Dec., Dkt.
 6                                  18-14, ¶¶3-15
 7

 8                                  Common Defense
                                    Supp. Arbulu Dec., Dkt. 70-17, ¶5
 9
            Department of           State of Washington
10
             Education              Esquibel Dec., Dkt. 70-7, ¶17
11
                                    AFGE
12                                  Kelley Dec., Dkt. 18-12, ¶14
13

14          Department of           American Geophysical Union
               Energy               Shultz Dec., Dkt. 70-16, ¶¶5-7
15

16                                  American Public Health Association
                                    Benjamin Dec., Dkt. 70-3, ¶¶11-22
17

18                                  American Geophysical Union
                                    Shultz Dec., Dkt. 70-16, ¶7
19         Department of
     Health and Human Services State of Washington
20                             Esquibel Dec., Dkt. 70-7, ¶¶10-11; Dively Dec., Dkt. 70-6, ¶10(a)(v),
21                             10(c)(i)-(iv)

22                                  AFGE
                                    Jacobs Dec., Dkt. 18-8, ¶¶3-19; Kelley Dec., Dkt. 18-12, ¶24
23

24
                                    State of Washington
25         Department of            Dively Dec., Dkt. 70-6, ¶¶10(b)(i)-(ii); Bartlett Dec., Dkt. 70-2, ¶¶6-
          Homeland Security         10)
26
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 1
            Department of           State of Washington
 2        Housing and Urban         Esquibel Dec., Dkt. 70-7, ¶¶7-9; Dively Dec., Dkt. 70-6, ¶¶10(a)(i)-
 3          Development             (iv))

 4
                                    Coalition to Protect America’s National Parks
 5                                  Neubacher Dec., Dkt. 18-15, ¶¶5-9; Supp. Neubacher Dec., Dkt. 39-
                                    3, ¶¶3-5; Second Supp. Neubacher Dec., Dkt. 70-19, ¶¶2-5
 6

 7                                  Western Watersheds Project
                                    Molvar Dec., Dkt. 18-13, ¶¶7-9; Supp. Molvar Dec., Dkt. 39-2, ¶¶2-
 8                                  6; Supp. Molvar Dec., Dkt. 70-18, ¶¶ 9, 11, 13
 9        Department of the
                                    American Geophysical Union
              Interior
                                    Shultz Dec., Dkt. 70-16, ¶¶5-8
10

11                                  Point Blue Conservation Science
                                    Pitkin Dec., Dkt. 70-15, ¶¶3, 7
12
                                    State of Washington
13                                  Bartlett Dec., Dkt. 70-2, ¶¶11-18, 27-29; Dively Dec., Dkt. 70-6,
14                                  ¶10(d); Esquibel Dec., Dkt. 70-7, ¶¶13-15

15
                                    AFSCME
16      Department of Justice
                                    Blake Dec., Dkt. 18-6, ¶4
17

18                                  Coalition to Protect America’s National Parks
                                    Supp. Neubacher Dec., Dkt. 70-19, ¶6
19
            Department of           Association of Flight Attendants
20          Transportation          Nelson Dec., Dkt. 70-13, ¶¶4-7
21
                                    AFSCME
22                                  Ronneberg Dec., Dkt. 18-17, ¶¶4-23; Blake Dec., Dkt. 18-6, ¶¶4, 7

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 1
                                    VoteVets
 2                                  Eaton Dec., Dkt. 18-15, ¶¶6-15
 3
                                    Common Defense
 4           Department of          Arbulu Dec., Dkt. 18-3, ¶5, 9-10; Supp. Arbulu Dec., Dkt. 70-17,
            Veterans Affairs        ¶¶3-4
 5
                                    AFGE
 6                                  Turner-Nichols Dec., Dkt. 18-18, ¶¶2, 6-13; Kelley Dec., Dkt. 18-12,
 7                                  ¶¶4, 25

 8
                                    American Geophysical Union
 9                                  Shultz Dec., Dkt. 70-16, ¶¶5, 7, 9
10    Environmental Protection Climate Resilient Communities
11            Agency           Cannedy Dec., Dkt. 70-4, ¶¶4-8, 10

12                                  AFGE
                                    Kelley Dec., Dkt. 18-12, ¶4
13

14
                                    American Geophysical Union
                 NASA
15                                  Shultz Dec., Dkt. 70-16, ¶¶5, 7, 8

16
                                    American Geophysical Union
17                                  Shultz Dec., Dkt. 70-16, ¶¶5-8
18
                                    Point Blue Conservation Science
19                                  Pitkin Dec., Dkt. 70-15, ¶¶3, 7
           National Science
20           Foundation
                                    Western Watersheds Project
                                    Second Supp. Molvar Dec., Dkt. 70-18, ¶14
21

22                                  AFGE
                                    Evans Dec., Dkt. 18-8, ¶¶1-38; Frassetto Dec., Dkt. 18-9, ¶¶1-26
23

24                                  Main Street Alliance
25                                  Phetteplace Dec., Dkt. 18-16, ¶¶4-9)
            Small Business
26          Administration          AFGE
                                    Kelley Dec., Dkt. 18-12, ¶¶4, 14
27

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